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                        EXHIBIT A




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 5              IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                             IN AND FOR KING COUNTY
6

 7    ELIZABETH SOLIS AND VICTOR
      SOLIS, a marital community,
8
                               Plaintiffs,               NO. 21-2-03556-2
9
               V.
10                                                       COMPLAINT FOR DAMAGES
      ESSEX PROPERTY TRUST,INC.,
11    d/b/a ESSEX PROPERTY,INC.,a
      foreign corporation, ESSEX
12    MANAGEMENT CORPORATION,
      INC.,a foreign corporation, XYZ CO.,a
13    foreign corporation, limited liability
      company,limited liability partnership,
14    partnership or sole proprietorship,
15                             Defendants.
16

17
         COME NOW Plaintiffs Elizabeth Solis and Victor Solis and for complaint allege:
18
                                             I. PARTIES
19
         1.1        At all relevant times hereto, plaintiffs Elizabeth and Victor Solis were
20
     residents of King County, Washington and tenants at Evergreen Heights Apartments in
21
     Kirkland, WA.
22

23       1.2        At all relevant times hereto, defendant Essex Property Trust, Inc., d/b/a Essex

     Property, Inc. was a foreign corporation doing business in King County, Washington and
      COMPLAINT FOR DAMAGES -1                                                       West Law Finn,P.S.
                                                                                 524 Tacoma Avenue South
                                                                                 T2C01111, Washington 98402
                                                                                      (253)383-4704
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       the lawful owner and/or operator of Evergreen Heights Apartments located at 12216-

 2      12233 NE 1314 Way,Kirkland, WA 98034, and responsible for the safe maintenance and
 3     repair of said property on behalf ofthe tenants.
 4                    At all relevant times hereto, defendant Essex Management Corporation, Inc.
            1.3
 5
        was a foreign corporation doing business in King County, Washington and the lawful
 6
       ;owner and/or operator of Evergreen Heights Apartments located at 122216-12233 NE
 7
       '131st Way,Kirkland, WA 98034,. and responsible for the safe maintenance and,repair of
 8
       said property on behalf ofthe tenants.
 9
            1.4       At all relevant times hereto, defendant XYZ CO. was a foreign corporation
10

11     doing business in King County, Washington and the lawful owner and/or operator of

12. Evergreen Heights Apartments located at 1.2221642233 NE 131st Way, Kirkland, WA

13 98034, and responsible for the safe maintenance and repair of said property on behalf of

14     the tenants.

15                                 II. JURISDICTION AND VENUE
16         2.1        Jurisdiction is proper in the State of Washington because all parties reside in,
17
     or do business in, Washington.
     '                                          The Superior Court of King County, State of
18
       Washington, has subject matterjurisdiction over this action pursuant to RCW 2.08.010.
19
           2.2        Venue is proper in and for King County because the defendants either own
20
       property and do business in, or reside in, Kiiig County and because the acts and
21 ,
       omissions alleged herein resulted in personal, injury in Kirkland, King County,
22
       Washington.
23

        COMPLAINT FOR DAMAGES -2                                                      West Law.Firrn,.P.S.
                                                                                   524 Tacoma Avenue South
                                                                                   Tacoma, Washington:98402
                                                                                        (253) 3834704
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 1                                           III. FACTS

 2        3.1     On or about March 23, 2018, plaintiff Elizabeth Solis parked her cat in her

 3   designated parking stall at the Evergreen Heights Apartinents owned and/or controlled by
 4
     the defendants. The, defendants' negligence, including but not limited to their failure to
 5
     :provide and maintain safe walkways for tenants, failure to remove unsafe and hazardous
 6
     .conditions from the area, and failure to properly design and comply With local and
 7
     national safety standards for the subject parking lot, proximately and directly caused the
 8
     plaintiff to fall and sustain serious and perxnanent injuries.
 9
                                          IV.DAMAGES
10
         4.1     This incident caused the plaintiff Elizabeth Solis to incur past and future
11

12 ',medical expenses; past and future income:loss; general damages for pain and suffering,

13 'permanent disability, emotional distress, loss of enjoyment of life, and other damages, all

14   in amounts to be proven at the time of trial.

15       4.2      As a direct and proximate result of defendants' acts and omissions set forth
16 above, plaintiff Victor Solis lost the consortium of his spouse.to his damage in an amount

17
     Ito be proven at the time oftrial:
18
          WHEREFORE,plaintiffs pray for judgment against the defendants for damages as
19
     alleged, plus costs.
20                  viit2='•
         DATED this f( day of March, 2021.
21
                                            WEST LAW FIRM,P.S.
22
                                          By:
23
                                                  trick R. West, WSB #41949
                                                Attorneys for Plaintiffs
      COMPLAINT FOR DAMAGES -3                                                   WestLaw Firm, P.S.
                                                                              524Tacoma Avenue South
                                                                              Tacoma, Washington 98402
                                                                                  (253) 383-4704
